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                                       COURTROOM MINUTE SHEET

                                                                                DATE      7-9-10
CIVIL NO.      CIV-09-675      -HE

                       Crystal Dawn Albarran-Giron, et al. -vs- Richard Lee Aldrich, et al.


COMMENCED 9:45               ENDED 10:15           TOTAL TIME         30 min.

PROCEEDINGS           Friendly suit hearing


JUDGE JOE HEATON                DEPUTY LORI GRAY                REPORTER JEANNE RING

PLF COUNSEL          John Branum, Esq.,

DFT COUNSEL          Randall Long, Esq.,


ENTER: Plaintiff Crystal Dawn Albarron-Giron appears in person with counsel.

        The court seals the courtroom and directs the transcript of this proceeding held confidential unless otherwise
directed by the court.

       The court hears from plaintiffs’ counsel a recitation of the terms of the proposed settlement. Defense
counsel concurs with the recitation by plaintiffs’ counsel. The court has a colloquy with plaintiff Crystal Dawn
Albarron-Giron.

        The court determines that the proposed settlement is reasonable, and the court approves same. The Joint
Application to Settle Claims of Minor Children and to Approve Wrongful Death Settlement (doc. no. 47) is
GRANTED. The court determines that the proposed allocation of fees and costs is not unreasonable. The court
directs plaintiffs’ counsel to find out if the state court judge has any objection to the funds involved in this case
being added to the funds being held in the state court case so that all of the funds may be administered together in
accordance with state court procedures.

       The court directs counsel to submit a proposed order approving the settlement and incorporating language
regarding adding the funds involved in this case to the funds being held in the state court case.
